      Case 5:22-cv-02137-EJD Document 14-1 Filed 06/11/22 Page 1 of 3



 1   Michael M. Maddigan (SBN 163450)
     HOGAN LOVELLS US LLP
 2   1999 Avenue of the Stars, Suite 1400
     Los Angeles, CA 90067
 3   Telephone: (310) 785-4600
     Facsimile: (310) 785-4601
 4   michael.maddigan@hoganlovells.com
 5   Lauren S. Colton (Pro Hac Vice Forthcoming)
     Marc A. Marinaccio (Pro Hac Vice Forthcoming)
 6   HOGAN LOVELLS US LLP
     100 International Drive, Suite 2000
 7   Baltimore, MD 21202
     Telephone: (410) 659-2700
 8   Facsimile: (410) 659-2701
     lauren.colton@hoganlovells.com
 9   marc.marinaccio@hoganlovells.com
10   Attorneys for Defendant KNIX WEAR INC.
11
                          UNITED STATES DISTRICT COURT
12
                       NORTHERN DISTRICT OF CALIFORNIA
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15   GEMMA RIVERA and MARISA                     Case No. 5:22-cv-02137-EJD
     FRANZ, on behalf of themselves and all
16   others similarly situated,                  Hon. Edward J. Davila
17                  Plaintiffs,                  [PROPOSED] ORDER
                                                 GRANTING DEFENDANT KNIX
18         v.                                    WEAR INC.’S MOTION FOR
                                                 SANCTIONS UNDER RULE 11
19   KNIX WEAR INC.,
20                  Defendant.                   Hearing Date: November 10, 2022
21                                               Time: 9:00 am
22                                               Courtroom: 4—5th Floor
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                                     PROPOSED ORDER
                                      5:22-cv-02137-EJD
      Case 5:22-cv-02137-EJD Document 14-1 Filed 06/11/22 Page 2 of 3



 1                                           ORDER
 2         Defendant Knix Wear Inc. moved for an order of Sanctions against Plaintiffs’
 3   Counsel, Sean L. Litteral and Rachel L. Miller. The Court, having considered the
 4   briefs and other documents in support of and in opposition to Defendant’s Motion
 5   and being fully advised in this matter finds as follows:
 6         Plaintiffs’ counsel failed to satisfy their obligations under Rule 11 of the
 7   Federal Rules of Civil Procedure because they did not make a reasonable and
 8   competent inquiry prior to filing this action and Plaintiff’s First Amended
 9   Complaint to determine whether key allegations contained therein had evidentiary
10   support.
11         IT IS HEREBY ORDERED THAT Defendant’s Motion for Sanctions is
12   GRANTED.
13         IT IS FURTHER ORDERED THAT the allegations made in Plaintiffs’
14   First Amended Complaint that Defendant’s products contain fluorine, PFAS or
15   fluorine indicative of PFAS, or suggesting that Defendant’s customers are at a
16   heightened risk of exposure to PFAS or that Defendant’s products are otherwise
17   unsafe or not sustainable, including Paragraphs 1, 4, 5, 6, 8, 9, 10, 11, 28, 31, 32,
18   33, 45, 46, 51, 65, 66, 67, 68, 69, 70, 71, 72, 75, 78, 79, 80, 81, 83, 84, 85, 87, 88,
19   118, 119, 121, 122, 131, 136, 139, 141, 142, 149, 150, 160, 169, 186, 195, 205,
20   206, 211, 220, 229, 235, 236, 238, 239, 240, 241 and 242, and all paragraphs,
21   unnumbered headers or other text containing those or similar allegations, are
22   STRICKEN.
23         IT IS FURTHER ORDERED THAT Defendant shall be awarded costs and
24   attorneys’ fees sufficient to reimburse it for it reasonable costs of defending this
25   matter, including costs and attorneys’ fees incurred in connection with Defendant’s
26   Motion for Sanctions and Defendant’s Motion to Dismiss the First Amended
27   Complaint. Defendant shall file a request for costs and attorneys’ fees consistent
28   with this Order within seven (7) days.
                                                 1
                                          PROPOSED ORDER
                                           5:22-cv-02137-EJD
      Case 5:22-cv-02137-EJD Document 14-1 Filed 06/11/22 Page 3 of 3



 1        IT IS SO ORDERED.
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 3   Dated:                                By:
                                                 Hon. Edward J. Davila
 4                                               United States District Court Judge
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                                    PROPOSED ORDER
                                     5:22-cv-02137-EJD
